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           IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                 8:09CR10
                              )
          v.                  )
                              )
MONICA HIATT,                 )                   ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to continue (Filing No. 32).        The Court notes plaintiff has no

objection.   Defendant shall file a written waiver of speedy

trial.   Accordingly,

           IT IS ORDERED that the Rule 11 hearing is rescheduled

for:

                Friday, September 11, 2009, at 10 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska, or as soon thereafter as may

be called by the Court.      The parties will have time to finalize

plea negotiations, and the ends of justice will be served by

continuing this case and outweigh the interests of the public and

the defendant in a speedy trial.        The additional time between

July 9, 2009, and September 11, 2009, shall be deemed excludable
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time in any computation of time under the requirement of the

Speedy Trial Act.    18 U.S.C. § 3161(h)(8)(A) & (B).

           DATED this 9th day of July, 2009.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court




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